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          E X HI BI T D
                                                                                                                                                                                                               Case 1:22-cv-10922-NRB Document 12-4 Filed 01/10/23 Page 2 of 3




                                     Di git al C urr e n c y Gr o u p, I n c. & S u bsi di ari es                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            P RI V A T E A N D C O N FI D E N TI A L

                                     Or g a niz ati o n al C h art as of A u g u st 2 0 2 2
                                                                                                                                                                                                                                                                                                                                         B arr y Sil b ert &
                                                                                                                                                                                                                                                                                                 Fir st M ar k                               Affili at es                                          Ot h ers
                                                                                                                                                                                                                                                                                                   C a pit al
                                                                                                                                                                                                                                                                                                                                                   ~ 3 8. 7 7 1 %
                                                                                                                                                                                                                                                                                                                 ~ 1 3. 5 0 6 %                                                   ~ 4 7. 7 2 3 %

                                                                                                                                                                                                                                                                                                                                        Di git al C urr e n c y
                                                                                                                                                                                                                                                                                                                                            Gr o u p, I n c.
                                                                                                                                                                                                                                                                                                                                         ( Gl o b al P ar e nt)




                                                                                                                                                                  F o u n dr y                                      D C G I nt er n ati o n al                                                 DC G                                                                                                                                                                                                                                                                                                                                                           Tr a d e bl o c k                      D C G C oi n D es k
                                                                  Gr a y s c al e                                                                                                                                                                                                                                        D C G L o gisti cs               D C G I niti ati v es                         D C G R e al        D C G M et a v ers e       F o urt h                                             G e n esis Gl o b al                                            G e n esis Gl o b al
  H Q Di git al L L C                                                                                                                                                                                               I n v est m e nts, Lt d.                        L u n o U S I n c.   I n v est m e nts                                                                                                                                                                                                                                                                                                                                                                                                  Lt d.                          C oi n D es k I n c.
                                                             I n v est m e nts L L C                                                                             Di git al L L C                                                                                                                                                LL C                              LL C                                 E st at e L L C        V e nt ur es L L C   R es e ar c h L L C                                       Tr a di n g, I n c. * *                                           H ol d c o, L L C                                                             C or p or ati o n
                                                                                                                                                                                                                         ( B er m u d a)                                                        LL C                                                                                                                                                                                                                                                                                                                                                                                                       ( U K)



                                                                                                                           F o u n dr y Di git al C A                                                                                    L u n o Gr o u p H ol di n gs                                                                                                                                  D C G R e al              D C G R e al      G e n esis U K H ol d c o                                                                                                                                 G e n esis B er m u d a   G e n esis Asi a ( H o n g                  G e n esis Asi a                    C oi n D es k
                                                                                                                                                         F o u n dr y Di git al I S e hf   L u n o E x p e diti o n s Lt d.                                                                                                                                 D C G R e al                                                                                                          G e n esis Gl o b al                                              G e n esis Gl o b al
                                            Gr a y s c al e                              Gr a y s c al e                              I n c.                                                                                                        Lt d.                                                                                                                                          E st at e H ol di n gs      E st at e M g mt             Li mit e d                                                                                                                                          H ol d c o Li mit e d       K o n g) Li mit e d                   P a cifi c Pt e. Lt d.              Pr o d u cti o n s                   C oi n d es k I n di c es I n c.
H Q S oft w ar e L L C                                                                                                                                            (I c el a n d)                   ( B er m u d a)                                                                                                                                     E st at e Q O F L L C                                                                                                         Ass ets, L L C                                                    C a pit al, L L C
                                          A d vis or s L L C                          S e c uriti es L L C                        ( C a n a d a)                                                                                                    ( U K)                                                                                                                                                  LL C                      LL C                    ( U K)                                                                                                                                               ( B er m u d a)           ( H o n g K o n g)                      ( Si n g a p or e)                      LL C


                                                                                                                                                                                                                                                                                                                                                                                                                                                     G e n esis C u st o d y    G G A I nt er n ati o n al             G G C I nt er n ati o n al                                                              G e n esis Gl o b al
                                                                                                                          F o u n dr y Di git al N O R       F o u n dr y Di git al                                                       L u n o H ol di n gs ( U K)                                                                                                                                                                                                                                                                                                                     G S B 2 0 2 2 III
                                                                                                                                                                                                                                                                                                                                                                                                      F air p ort 4 5                                       Li mit e d                  Li mit e d                             Li mit e d           G S B 2 0 2 2 II L L C                                    M ar k ets Li mit e d
                                                                                                                                       AS                   B er m u d a Li mit e d                                                                  Lt d.                                                                                                                                                                                                                                                                                                                                      LL C
                                                                                                                                                                                                                                                                                                                                                                                                    O’ C o n n or L L C                                       ( U K)                      ( B VI)                                ( B VI)                                                                          ( B er m u d a)
                                                                                                                                  ( N or w a y)                 ( B er m u d a)                                                                    ( U K) *
                                                          M a n a g e d F u n ds
            G B T C – Gr a y s c al e Bit c oi n Tr ust ( U S Gr a nt or Tr ust, O T C Li st e d)
            E T C G – Gr a y s c al e Et h er e u m Cl assi c Tr ust ( U S Gr a nt or Tr ust, O T C Li st e d)                                           F o u n dr y Di git al I n di a                                                                                                                                                                                                                                                                                                                                                            G S B 2 0 2 2I LL C
                                                                                                                              D C G- F S W E A B
            Z C S H – Gr a y s c al e Z c as h Tr ust ( U S Gr a nt or Tr ust, O T C List e d)                                                               Pri v at e Li mit e d                                                          SEE NEXT P A GE
            E T H E – Gr a y s c al e Et h er e u m Tr ust ( U S Gr a nt or Tr ust, O T C List e d)                               ( S w e d e n)
                                                                                                                                                                    (I n di a)
            B C H G – Gr a y s c al e Bit c oi n C as h Tr ust ( U S Gr a nt or Tr ust, O T C Li st e d)
            L T C N – Gr a y s c al e Lit e c oi n Tr ust ( U S Gr a nt or Tr ust , O T C List e d)
            H Z E N – Gr a y s c al e H ori z e n Tr ust ( U S Gr a nt or Tr ust, O T C Li st e d)
            G X L M – Gr a y s c al e St ell ar L u m e ns Tr ust ( U S Gr a nt or Tr ust, O T C List e d)
            Gr a y s c al e D ec e ntr al a n d Tr ust ( U S Gr a nt or Tr ust)                                               F o u n dr y P O S             F o u n dr y L a bs
            Gr a y s c al e B asi c Att e nti o n T o k e n Tr ust ( U S Gr a nt or Tr ust)                                          LL C                            LL C
            Gr a y s c al e C h ai nli n k Tr ust ( U S Gr a nt or Tr ust)
            Gr a y s c al e Fil e c oi n Tr ust ( U S Gr a nt or Tr ust)
            Gr a y s c al e Li v e p e er Tr ust ( U S Gr a nt or Tr ust)
            Gr a y s c al e S ol a n a Tr ust ( U S Gr a nt or Tr ust)
            G D L C – Gr a y s c al e Di git al L ar g e C a p F u n d L L C ( C a y m a n Isl a n ds , O T C List e d)
                                                                                                                                  F o u n dr y               R o c k t h e Bl o c k
            Gr a y s c al e D e Fi F u n d L L C ( C a y m a n Isl a n ds)
            Gr a y s c al e S m art C o ntr a ct Pl atf or m E x- Et h er e u m F u n d ( C a y m a n Isl a n ds)              Ac a d e my LL C                       LL C
            Gr a y s c al e F ut ur e of Fi n a n c e E T F ( U S E T F, N Y S E Li st e d)
            Gr a y s c al e F ut ur e of Fi n a n c e U CI T S E T F (Ir el a n d E T F, V ari o us Li sti n gs)


                                                                                                                              F o u n dr y P O W
                                                                                                                                      LL C




                                                                                       D e pl o y,                                 F o u n dr y
                                                                                                                                                                 F o u n dr y U S A
                                                                                   L o gisti cs, a n d                          E q ui p m e nt
                                                                                                                                                                    P o ol L L C
                                                                                   F o u n dr y X L L C                         Fi n a n c e L L C




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             E ntit y K e y:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  U S C or p or ati o n f or U S T a x P ur p os es

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  C o ntr oll e d F or ei g n C or p or ati o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Disr e g ar d e d f or U S T a x P ur p os es

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   F or ei g n br a n c h f or U S T a x P ur p os es

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I n di vi d u al                                  P art n ers hi p                                   N o n pr ofit

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              N ot es:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              U S u nl ess ot h er wis e n ot e d. 1 0 0 % o w n e d u nl ess ot h er wi s e n ot e d.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              * S e e n e xt p a g e f or L u n o H ol di n gs ( U K) Lt d or g str u ct ur e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              * * R e gi st er e d br o k er d e al er wit h S E C a n d FI N R A.
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